                3:18-cv-03118-JFA                 Date Filed 06/07/21      Entry Number 268          Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


Brian Bowen, II,
                                 Plaintiff,
                         v.                                                Civil Action No.       3:18-3118-JFA
Adidas America, Inc., James Gatto, Merl Code,
Christian Dawkins, Munish Sood, Thomas Gassnola,
and Christopher Rivers,
                                  Defendants,
____________________________________________________
Adidas America, Inc.,
                                         Cross-Claimant,
                               v.

Thomas Gassnola and Munish Sood,
                                         Cross-Defendants,
                               v.
Brian Bowen, Sr.,
                                         Cross-Defendant.



                                                  JUDGMENT IN A CIVIL ACTION

O    IT IS ORDERED AND ADJUDGED that summary judgment is hereby entered in favor of defendants, Adidas
America, Inc., James Gatto, Merl Code, Christian Dawkins, Munish Sood, Thomas Gassnola, and Christopher Rivers
against plaintiff, Brian Bowen, II as to all claims and this case is dismissed with prejudice.
O IT IS FURTHER ORDERED AND ADJUDGED that cross-claimant, Munish Sood shall take nothing from cross-
defendant Brian Bowen, Sr., these claims are dismissed with prejudice..

This action was (check one):


O This action came before the Court on the record, Honorable Joseph F. Anderson, United States District Judge,
presiding. The defendants’ motions for summary judgment having been heard and a decision having been rendered, the
court grants defendants’ motions for summary judgment. Cross claimant, Adidas claims against cross-defendants,
Thomas Gassnola, Munish Sood and Brian Bowen, Sr. are dismissed by way of stipulation.

Date: June 7, 2021                                                              ROBIN L. BLUME, CLERK OF COURT


                                                                                      s/Mary L. Floyd, Deputy Clerk
                                                                                     Signature of Clerk or Deputy Clerk
